                                                                               Motion GRANTED.
                                                                               Hearing reset for
                            UNITED STATES DISTRICT COURT                       2/21/13 at 3:00 p.m.
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

                                   NASHVILLE DIVISION



UNITED STATES OF AMERICA                    )
                                            )
                  v.                        )       NO. 3:11-00082-19; 3:11-00235
                                            )
BRANDON PAUL HOOPER                         )       JUDGE TRAUGER


                         MOTION TO CONTINUE SENTENCING

       COMES NOW the United States of America, by and through Assistant United States

Attorney Sunny A.M. Koshy, and moves the Court to continue the defendant’s sentencing hearing

set for Tuesday, November 20, 2012, since the defendant’s cooperation is not yet complete.



                                            Respectfully submitted,

                                            JERRY E. MARTIN
                                            UNITED STATES ATTORNEY


                                    BY:       s/Sunny A.M. Koshy
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